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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MALLINCKRODT ARD LLC.,


                     Plaintiffs,

         v.
                                                         Civil Docket No. 1:19-cv-1471-ABJ
 SEEMA VERMA, in her official capacity as
 ADMINISTRATOR, CENTERS FOR
 MEDICARE & MEDICAID SERVICES, and
 ALEX M. AZAR II, in his official capacity as
 SECRETARY, UNITED STATES
 DEPARTMENT OF HEALTH AND HUMAN
 SERVICES,


                     Defendants.


                       NOTICE OF FILING A CERTIFIED LIST OF CONTENTS
                                OF ADMINISTRATIVE RECORD

        Pursuant to Local Rule 7(n)(1) and the Court’s June 7, 2019 Order, attached hereto is a

certified list of the contents of the Administrative Record in this case. A copy of the administrative

record itself will be served on counsel for Plaintiff.


Dated: June 28, 2019                                 Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     JEAN LIN
                                                     Special Counsel, Federal Programs Branch

                                                     /s/ Kevin Snell_
                                                     KEVIN SNELL
                                                     Trial Attorney
                                                     Federal Programs Branch
                                                     U.S. Department of Justice, Civil Division
                                                     1100 L St. NW
                                                     Washington, D.C. 20005
                                                     Telephone: (202) 305-0924


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                              Fax: (202) 616-8460
                              Email: Kevin.Snell@usdoj.gov

                              Counsel for Defendants




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